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                                      EXHIBIT D

                              Fourth Monthly Fee Statement




 DOCS_LA:338148.1 05067/002
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

     In re:                                                      Case No. 20-10846

     THE ROMAN CATHOLIC CHURCH                                   Section “A”
     OF THE ARCHDIOCESE OF NEW
     ORLEANS,                                                    Chapter 11
                        Debtor. 1
                                                                 Objection Deadline: June 8, 2021




  MONTHLY FEE AND EXPENSE STATEMENT OF BERKELEY RESEARCH GROUP,
     LLC FOR THE PERIOD JANUARY 1, 2021 THROUGH JANUARY 31, 2021

              1.   In accordance with Section XIII(B) of the Court’s December 4, 2019 General

 Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

 Berkeley Research Group, LLC (“BRG”), as financial advisor to the Official Committee of

 Unsecured Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned

 debtor and debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense

 Statement (the “Statement”) for the period from January 1, 2021 through January 31, 2021 (the

 “Statement Period”) for the above-styled Chapter 11 bankruptcy case (collectively, the

 “Bankruptcy Case”).

              ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

              2.   The BRG timekeepers (collectively, the “Timekeepers”) who rendered services to

 the Committee in connection with the Bankruptcy Case during the Statement Period, including the

 hourly rate, title, and fees earned by each Timekeeper, is attached hereto as Exhibit A.




 1
   The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
 business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


                                                         1
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        3.      The detailed time record of BRG for the Statement Period are attached hereto as

 Exhibit B.

        4.      In addition, under separate cover, the detailed time record under Exhibit B will be

 sent to the Office of the United States Trustee in the LEDES format.

        As of the date hereof, BRG has received the following payments for fees and expenses

 incurred from the Debtors’ estates post-petition: None.

       TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

        5.      The total amounts sought for fees for professional services rendered and

 reimbursement of expenses incurred for the Statement Period are as follows:

                              January 1, 2021 to January 31, 2021

               Fees (at standard rates)                          $24,961.50

                (Voluntary Reduction)                           ($3,561.50)

               Fees (After reduction)                            $21,400.00



               Expenses                                                 $7.00

               Total                                             $21,407.00




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                         NOTICE AND OBJECTION PROCEDURES

        6.      In accordance with the Interim Compensation Order, notice of the Statement has

 been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

 (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

 Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

 David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

 L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

 1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

 P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445

 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig,

 One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig,

 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George, Esq., Office

 of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130.

        7.      Also pursuant to the Complex Case Order, any objections to this Statement must

 be asserted on or before June 7, 2021 (the “Objection Deadline”), setting forth the nature of the

 objection and the specific amount of fees or expenses at issue.

        8.      If no objections to the Statement are received on or before the Objection Deadline,

 the Debtor, pursuant to the Complex Case Order, is authorized to pay BRG on an interim basis the

 total amount of $17,127.00 which consists of eighty percent (80%) of BRG’s total fees of

 $21,400.00, or $17,120.00, and one hundred percent (100%) of BRG’s total expenses of $7.00 for

 the Statement Period.

        9.      To the extent an objection to the Statement is received on or before the Objection

 Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

 is directed and will promptly pay the remainder of the fees and disbursements in the percentages
                                                 3
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 set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

 for consideration at the next interim fee application hearing.

  Dated: May 25, 2021                                  Respectfully submitted,

                                                       By:/s/ Paul N. Shields
                                                          Matthew K. Babcock
                                                          Paul N. Shields
                                                          Berkeley Research Group, LLC
                                                          201 South Main Street, Suite 450
                                                          Salt Lake City, Utah 84111
                                                          Telephone: (801) 364-6233
                                                          Email: mbabcock@thinkbrg.com
                                                                 pshields@thinkbrg.com

                                                       Financial Advisors to the Official Committee of
                                                       Unsecured Creditors




                                                  4
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                                     EXHIBIT A

                                 (Timekeeper Summary)




 DOCS_LA:335712.2 76136/002
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       COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD
               JANUARY 1, 2021 THROUGH JANUARY 31, 2021


       Name                 Title        Hourly Rate   Hours      Amount

 Paul Shields          Managing             $620        14.80        $9,176.00
                       Director

 Ray Strong            Managing             $590         2.00        $1,180.00
                       Director
 Matthew Babcock       Associate            $540         5.50        $2,970.00
                       Director
 Jeffrey Shaw          Senior Managing      $475         8.60        $4,085.00
                       Consultant
 Sarita Bhattacharya   Consultant           $325         1.50         $487.50
 Shelby Chaffos        Associate            $235        14.90        $3,501.50
                                                        47.30       $21,400.00
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                                     EXHIBIT B

                                   (January Invoice)
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                       Page 2 of 10
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 113806
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From January 1, 2021 Through January 31, 2021

PROFESSIONAL SERVICES
                                                                             Rate       Hours            Amount
Managing Director
  Paul Shields                                                             620.00       14.80           9,176.00
  Ray Strong                                                               590.00        2.00           1,180.00

Associate Director
   Matthew Babcock                                                         540.00        5.50           2,970.00

Senior Managing Consultant
   Jeffrey Shaw                                                            475.00        8.60           4,085.00

Consultant
  Sarita Bhattacharya                                                      325.00        1.50             487.50

Associate
   Shelby Chaffos                                                          235.00       14.90           3,501.50

Total Professional Services                                                             47.30          21,400.00

EXPENSES

Data Research                                                                                               7.00
Total Expenses                                                                                              7.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                       Page 3 of 10
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 113806
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

SUMMARY BY TASK CODE

 Task Code    Description                                                                Hours          Amount
   200.20     Document / Data Analysis (Financial / Accounting)                           4.10          1,637.50
   200.30     Document / Data Analysis (Financial / Accounting) - Accounting System       2.30          1,342.00
   200.90     Document / Data Analysis (Production Requests)                             25.00          9,985.50
   600.00     Claims / Liability Analysis (General)                                      10.80          5,273.00
  1060.00     Fee Application Preparation & Hearing                                       5.10          3,162.00

Total Professional Services                                                               47.30        21,400.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 4 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113806
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From January 1, 2021 Through January 31, 2021

DETAIL OF PROFESSIONAL SERVICES

Date         Name                         Description                                 Hours        Rate          Amount

Task Code: 200.20 - Document / Data Analysis (Financial / Accounting)
01/11/21     Shelby Chaffos            Evaluated document production                   0.60      235.00           141.00
                                       contained in Everlaw.
01/13/21     Sarita Bhattacharya          Teams meeting with BRG (PS, SC) in           0.60      325.00           195.00
                                          order to review new batch of
                                          documents produced.
01/13/21     Sarita Bhattacharya          Organized PPP loan documents and             0.90      325.00           292.50
                                          Form 990s.
01/13/21     Shelby Chaffos               Spoke with BRG (PS, SB) to evaluate          0.60      235.00           141.00
                                          organization of new document
                                          production.
01/13/21     Paul Shields                 Responded to communications from             0.60      620.00           372.00
                                          UCC Counsel (AC) and Debtor's
                                          Financial Advisor (KZ) regarding
                                          production of documents.
01/13/21     Paul Shields                 Participated on call with BRG (SC, SB)       0.60      620.00           372.00
                                          about uploading new document
                                          production, including organization of
                                          said documents on network.
01/15/21     Paul Shields                 Communicated regarding potential             0.20      620.00           124.00
                                          timing for production of additional
                                          records.
                                          Total for Task Code 200.20                   4.10                     1,637.50

Task Code: 200.30 - Document / Data Analysis (Financial / Accounting) - Accounting System
01/08/21     Ray Strong                Contacted Zobrio to discuss finalizing        0.20        590.00           118.00
                                       potential engagement for financial
                                       edge consulting.
01/20/21     Ray Strong                   Followed up with accounting system           0.20      590.00           118.00
                                          providers for possible engagement to
                                          assist with Financial Edge consulting
                                          requirements.
01/21/21     Matthew Babcock              Spoke with Financial Edge consultant.        0.30      540.00           162.00
01/21/21     Ray Strong                   Provided summary of Zobrio call to           0.20      590.00           118.00
                                          UCC Counsel for employment
                                          application preparation.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 5 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113806
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
01/21/21     Ray Strong                   Discussed engagement questions and           0.40      590.00           236.00
                                          issues with Zobrio contact to move
                                          potential engagement forward.
01/22/21     Ray Strong                   Attended call with Zobrio team and           0.50      590.00           295.00
                                          UCC counsel (GB) to address
                                          engagements questions.
01/22/21     Ray Strong                   Discussed potential engagement of            0.10      590.00            59.00
                                          Zobrio as consultants for Debtor's
                                          Financial Edge System with UCC
                                          counsel (GB).
01/25/21     Ray Strong                   Analyzed Zobrio engagement letters           0.40      590.00           236.00
                                          for accounting system consulting and
                                          provided comments to counsel.
                                          Total for Task Code 200.30                   2.30                     1,342.00

Task Code: 200.90 - Document / Data Analysis (Production Requests)
01/02/21     Paul Shields              Responded to communications                     0.30      620.00           186.00
                                       regarding production of records.
01/04/21     Matthew Babcock              Spoke with BRG (PS, SC) in regard to         0.40      540.00           216.00
                                          document productions.
01/04/21     Shelby Chaffos               Spoke with BRG (PS, MB) to discuss           0.40      235.00            94.00
                                          rule 2004 document production.
01/04/21     Paul Shields                 Spoke with BRG (MB, SC) regarding            0.40      620.00           248.00
                                          request for information.
01/05/21     Shelby Chaffos               Reviewed document production tag             1.80      235.00           423.00
                                          structure in comparison to BRG
                                          document request list.
01/05/21     Shelby Chaffos               Spoke with BRG (PS) and UCC Counsel          0.20      235.00            47.00
                                          (AC) to discuss document request 49 -
                                          63.
01/05/21     Shelby Chaffos               Spoke with BRG (PS) and UCC Counsel          0.70      235.00           164.50
                                          (GB) to discuss rule 2004 document
                                          production.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 6 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113806
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
01/05/21     Shelby Chaffos               Compared documents provided by the           2.40      235.00           564.00
                                          Debtor to BRG's documents request
                                          list in order to identify documents
                                          responsive to request, as well as
                                          requested documents that remain
                                          outstanding (1.4), including
                                          discussions with BRG (PS) (0.3 and
                                          0.7).
01/05/21     Paul Shields                 Spoke with UCC Counsel (GB) and BRG          0.70      620.00           434.00
                                          (SC) regarding document production
                                          to date.
01/05/21     Paul Shields                 Spoke with BRG (SC) to outline issues        0.30      620.00           186.00
                                          for consideration in identifying
                                          documents produced to date as
                                          compared to documents requested.
01/05/21     Paul Shields                 Spoke with BRG (SC) regarding review         0.70      620.00           434.00
                                          of records produced by the Debtor as
                                          compared to documents requested.
01/05/21     Paul Shields                 Conducted further review of Debtor           0.30      620.00           186.00
                                          responses to document request.
01/05/21     Paul Shields                 Spoke with UCC Counsel (AC) and BRG          0.20      620.00           124.00
                                          (SC) regarding review of records
                                          produced by the Debtor as compared
                                          to documents requested.
01/06/21     Matthew Babcock              Spoke with BRG (PS, SC) in regard to         0.50      540.00           270.00
                                          document review / production issues.
01/06/21     Matthew Babcock              Spoke with UCC Counsel (DB) in regard        0.60      540.00           324.00
                                          to claims analysis and discovery
                                          requests.
01/06/21     Matthew Babcock              Reviewed document discovery issues,          0.40      540.00           216.00
                                          including responses to UCC Counsel.
01/06/21     Shelby Chaffos               Compared documents provided by the           1.90      235.00           446.50
                                          Debtor to BRG's documents request
                                          list in order to identify documents
                                          responsive to request, as well as
                                          requested documents that remain
                                          outstanding. (Bates/Control # ANO
                                          (20-10846)_00001016 - 00003857).
01/06/21     Shelby Chaffos               Spoke with BRG (PS) to evaluate              1.10      235.00           258.50
                                          documents produced as compared to
                                          documents provided.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 7 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113806
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
01/06/21     Shelby Chaffos               Compared documents provided by the           0.70      235.00           164.50
                                          Debtor to BRG's documents request
                                          list in order to identify documents
                                          responsive to request, as well as
                                          requested documents that remain
                                          outstanding. (Bates/Control # ANO
                                          (20-10846)_00000202 - 00001015).
01/06/21     Shelby Chaffos               Compared documents provided by the           1.40      235.00           329.00
                                          Debtor to BRG's documents request
                                          list in order to identify documents
                                          responsive to request, as well as
                                          requested documents that remain
                                          outstanding. (Bates/Control # ANO
                                          (20-10846)_00003858 - 00006581).
01/06/21     Shelby Chaffos               Compared documents provided by the           2.60      235.00           611.00
                                          Debtor to BRG's documents request
                                          list in order to identify documents
                                          responsive to request, as well as
                                          requested documents that remain
                                          outstanding. (Bates/Control # ANO
                                          (20-10846)_00006609 - 00008933).
01/06/21     Shelby Chaffos               Spoke with BRG (PS, MB) to discuss           0.50      235.00           117.50
                                          Debtor's response and objections.
01/06/21     Paul Shields                 Evaluated communications relating to         0.20      620.00           124.00
                                          outstanding document production.
01/06/21     Paul Shields                 Spoke with BRG (SC) regarding                1.10      620.00           682.00
                                          comparison of documents provided by
                                          the Debtor to BRG's documents
                                          request list in order to identify
                                          documents responsive to request and
                                          those that remain outstanding.
01/06/21     Paul Shields                 Compared documents provided by the           0.70      620.00           434.00
                                          Debtor to BRG's documents request
                                          list in order to identify documents
                                          responsive to request, as well as
                                          requested documents that remain
                                          outstanding.
01/06/21     Paul Shields                 Prepared email to UCC Counsel (DB)           0.20      620.00           124.00
                                          regarding adjustment to request for
                                          financial information from non-debtor
                                          affiliates.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 8 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113806
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
01/06/21     Paul Shields                 Spoke with BRG (MB, SC) regarding            0.50      620.00           310.00
                                          clarifications to initial document
                                          request and Debtor responses to said
                                          request.
01/06/21     Paul Shields                 Prepared email to UCC Counsel (AC)           0.90      620.00           558.00
                                          detailing categories of documents
                                          produced and the responsiveness of
                                          those documents to the document
                                          requests submitted.
01/07/21     Paul Shields                 Conducted additional review of               0.60      620.00           372.00
                                          Debtor's response to document
                                          request, including calls with UCC
                                          Counsel (AC, GB).
01/13/21     Paul Shields                 Participated on call with Debtor's           0.30      620.00           186.00
                                          Financial Advisor (KZ) regarding
                                          document requests.
01/13/21     Paul Shields                 Prepared communication to UCC                0.70      620.00           434.00
                                          Counsel (AC) regarding discussion with
                                          Debtor's Financial Advisor and
                                          specifics regarding documents
                                          requested in native format.
01/18/21     Matthew Babcock              Revised declaration in support of            0.50      540.00           270.00
                                          discovery requests.
01/18/21     Matthew Babcock              Spoke with UCC Counsel (GB) in regard        0.60      540.00           324.00
                                          to declaration.
01/18/21     Paul Shields                 Responded to communications                  0.20      620.00           124.00
                                          relating to pending requests for
                                          information.
                                          Total for Task Code 200.90                  25.00                     9,985.50

Task Code: 600.00 - Claims / Liability Analysis (General)
01/15/21     Matthew Babcock               Spoke with Donlin Recano in regard to       0.30      540.00           162.00
                                           claims data.
01/26/21     Matthew Babcock              Spoke with BRG (JS) in regard to claims      0.40      540.00           216.00
                                          analysis.
01/26/21     Matthew Babcock              Analyzed filed and scheduled claims          1.50      540.00           810.00
                                          data.
01/26/21     Jeffrey Shaw                 Spoke with BRG (MB) regarding claims         0.40      475.00           190.00
                                          analysis.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 9 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113806
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
01/27/21     Jeffrey Shaw                 Analyzed initial claims data received        1.90      475.00           902.50
                                          from Donlin Recano in order to
                                          identify duplicate claims.
01/27/21     Jeffrey Shaw                 Evaluated claimant information               1.10      475.00           522.50
                                          contained in initial claims data
                                          provided by Donlin Recano.
01/27/21     Jeffrey Shaw                 Analyzed initial claims data received        2.50      475.00         1,187.50
                                          from Donlin Recano in order to
                                          identify and standardize law firm
                                          information.
01/27/21     Jeffrey Shaw                 Prepared summary schedules of initial        1.20      475.00           570.00
                                          claims data received from Donlin
                                          Recano.
01/28/21     Jeffrey Shaw                 Continued preparation of summary             1.50      475.00           712.50
                                          claims schedules.
                                          Total for Task Code 600.00                  10.80                     5,273.00

Task Code: 1060.00 - Fee Application Preparation & Hearing
01/18/21     Paul Shields                Responded to communications                   0.10      620.00            62.00
                                         relating to fee statement preparation.
01/21/21     Paul Shields                 Evaluated October 2020 time                  0.50      620.00           310.00
                                          descriptions and task codes in order to
                                          ensure proper time descriptions and
                                          categorization of time entries,
                                          including making any necessary
                                          adjustments to task codes or time
                                          descriptions.
01/21/21     Paul Shields                 Evaluated August 2020 time                   2.20      620.00         1,364.00
                                          descriptions and task codes in order to
                                          ensure proper time descriptions and
                                          categorization of time entries,
                                          including making any necessary
                                          adjustments to task codes or time
                                          descriptions.
01/21/21     Paul Shields                 Evaluated September 2020 time                0.40      620.00           248.00
                                          descriptions and task codes in order to
                                          ensure proper time descriptions and
                                          categorization of time entries,
                                          including making any necessary
                                          adjustments to task codes or time
                                          descriptions.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                              Page 10 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113806
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                            Description                              Hours        Rate          Amount
01/22/21     Paul Shields                    Communicated regarding follow up on       0.10      620.00            62.00
                                             BRG fee statement.
01/25/21     Paul Shields                    Made further edits to time entries for    1.80      620.00         1,116.00
                                             the months of June 2020 to October
                                             2020.
                                             Total for Task Code 1060.00               5.10                     3,162.00

Professional Services                                                                 47.30                    21,400.00

DETAIL OF EXPENSES

Date             Description                                                                                     Amount
Data Research
01/31/21         Pacer - Court (pacer.gov)                                                                          7.00
                 Total For Data Research                                                                            7.00

Expenses                                                                                                            7.00
